                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  CANAL INSURANCE COMPANY,                        )
                                                  )
               Plaintiff,                         )
                                                  )
  v.                                              )      No.:   3:13-CV-447-TAV-HBG
                                                  )
  MOORE FREIGHT SERVICES, INC., et al.,           )
                                                  )
                Defendants.                       )


                                          ORDER

        For the reasons set forth in the memorandum opinion entered contemporaneously

  with this order, the Court hereby GRANTS plaintiff’s Motion for Summary Judgment

  [Doc. 68]. Plaintiff has no duty to defend or indemnify Moore Freight Services, Inc. in

  civil action case number 2:13-cv-01093 in the United States District Court for the Eastern

  District of Pennsylvania.

        IT IS SO ORDERED.

                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




   ENTERED AS A JUDGMENT
      s/ Debra C. Poplin
     CLERK OF COURT




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